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 1 KELLY M. KLAUS (State Bar No. 161091)
   kelly.klaus@mto.com
 2 ELIZABETH A. KIM (State Bar No. 295277)
   elizabeth.kim@mto.com
 3 MUNGER, TOLLES & OLSON LLP
   350 South Grand Avenue
 4 Fiftieth Floor
   Los Angeles, California 90071-3426
 5 Telephone: (213) 683-9100
   Facsimile: (213) 687-3702
 6
   MICHAEL B. DESANCTIS (pro hac vice pending)
 7 michael.desanctis@mto.com
   MUNGER, TOLLES & OLSON LLP
 8 1155 F Street N.W., Seventh Floor
   Washington, D.C. 20004-1357
 9 Telephone: (202) 220-1100
   Facsimile: (202) 220-2300
10
   Attorneys for Plaintiffs
11
12                         UNITED STATES DISTRICT COURT
13           CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
14
   Amazon Content Services, LLC;             Case No.
15 Columbia Pictures Industries, Inc.;
   Disney Enterprises, Inc.; Netflix         COMPLAINT
16 Studios, LLC; Paramount Pictures
   Corporation; Sony Pictures Television     DEMAND FOR JURY TRIAL
17 Inc.; Twentieth Century Fox Film
   Corporation; Universal City Studios
18 Productions LLLP; Universal Cable
   Productions LLC; Universal Television
19 LLC; Warner Bros. Entertainment Inc.,
20               Plaintiffs,
21         vs.
22 Set Broadcast, LLC d/b/a Setvnow;
   Jason Labossiere; Nelson Johnson,
23             Defendants.
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 1         Plaintiffs Amazon Content Services, LLC (“Amazon”); Columbia Pictures
 2 Industries, Inc. (“Columbia”); Disney Enterprises, Inc. (“Disney”); Netflix Studios,
 3 LLC (“Netflix”); Paramount Pictures Corporation (“Paramount”); Sony Pictures
 4 Television Inc. (“Sony Pictures Television”); Twentieth Century Fox Film
 5 Corporation (“Fox”); Universal City Studios Productions LLLP, Universal Cable
 6 Productions LLC, and Universal Television LLC, (collectively, “Universal”); and
 7 Warner Bros. Entertainment Inc. (“Warner Bros.”) (collectively, “Plaintiffs”) bring
 8 this Complaint against Set Broadcast, LLC d/b/a Setvnow, Jason Labossiere, and
 9 Nelson Johnson (Labossiere and Johnson are referred to jointly as the “Individual
10 Defendants,” and the Individual Defendants and Set Broadcast, LLC are referred to
11 collectively as “Defendants”) under the Copyright Act (17 U.S.C. § 101 et seq.).
12 This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331, 1338(a),
13 and 17 U.S.C. § 501(b). Plaintiffs allege, on personal knowledge as to themselves
14 and information and belief as to others, as follows:
15                                  INTRODUCTION
16         1.    Defendants market and sell subscriptions to “Setvnow,” a software
17 application that Defendants urge their customers to use as a tool for the mass
18 infringement of Plaintiffs’ copyrighted motion pictures and television shows
19 (“Copyrighted Works”). Defendants tell customers that for “only $20/month,”
20 customers can “Stream over 500 live channels” of television and “Thousands of On
21 Demand entertainment options,” all with “No long term commitments,” “No
22 activation fees,” “No cancellation fees,” and “No credit check.” Defendants
23 encourage their customers to download and install Setvnow on their mobile devices,
24 computers, and other computer hardware devices.
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 9         2.    To attract customers who would prefer a preloaded box, Defendants
10 also market and sell “ST-110 Set Top Box” computer hardware devices that come
11 preloaded with the Setvnow software. Defendants tell “customers who want more
12 of a cable box experience” that for just $89, they can “simply turn it on and watch
13 TV” without having to do anything more than “PLUG AND PLAY.”
14         3.    Whether their customers choose a subscription or a preloaded box,
15 what Defendants actually sell is illegal access to Plaintiffs’ Copyrighted Works.
16 When used as Defendants intend and instruct, Setvnow gives Defendants’ customers
17 access to sources that stream Plaintiffs’ Copyrighted Works without authorization.
18 These streams are illegal public performances of Plaintiffs’ Copyrighted Works.
19         4.    For the customers who use Setvnow, the service provides hallmarks of
20 using authorized streaming services—a user-friendly interface and reliable access to
21 popular content—but with a notable exception: the customers only pay money to
22 Defendants, not to Plaintiffs and other content creators upon whose copyrighted
23 works Defendants’ business depends. Plaintiffs bring this action to stop
24 Defendants’ intentional inducement of, and knowing and material contribution to,
25 the widespread infringement of Plaintiffs’ rights.
26                                    THE PARTIES
27         5.    Plaintiff Amazon Content Services, LLC is a corporation duly
28 incorporated under the laws of the State of Delaware with its principal place of

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 1 business in Seattle, Washington. Amazon owns or controls the copyrights or
 2 exclusive rights in the content that it or its affiliates produce or distribute.
 3         6.     Plaintiff Columbia Pictures Industries, Inc. is a corporation duly
 4 incorporated under the laws of the State of Delaware with its principal place of
 5 business in Culver City, California. Columbia owns or controls the copyrights or
 6 exclusive rights in the content that it or its affiliates produce or distribute.
 7         7.     Plaintiff Disney Enterprises, Inc. is a corporation duly incorporated
 8 under the laws of the State of Delaware with its principal place of business in
 9 Burbank, California. Disney owns or controls the copyrights or exclusive rights in
10 the content that it or its affiliates produce or distribute.
11         8.     Plaintiff Netflix Studios, LLC is a corporation duly incorporated under
12 the laws of the State of Delaware with its principal place of business in Los Gatos,
13 California. Netflix owns or controls the copyrights or exclusive rights in the content
14 that it or its affiliates produce or distribute.
15         9.     Plaintiff Paramount Pictures Corporation is a corporation duly
16 incorporated under the laws of the State of Delaware with its principal place of
17 business in Los Angeles, California. Paramount owns or controls the copyrights or
18 exclusive rights in the content that it or its affiliates produce or distribute.
19         10.    Plaintiff Sony Pictures Television Inc. is a corporation duly
20 incorporated under the laws of the State of Delaware with its principal place of
21 business in Culver City, California. Sony Pictures Television owns or controls the
22 copyrights or exclusive rights in the content that it or its affiliates produce or
23 distribute.
24         11.    Plaintiff Twentieth Century Fox Film Corporation is a corporation duly
25 incorporated under the laws of the State of Delaware with its principal place of
26 business in Los Angeles, California. Fox owns or controls the copyrights or
27 exclusive rights in the content that it or its affiliates produce or distribute.
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 1         12.    Plaintiff Universal City Studios Productions LLLP is a limited liability
 2 limited partnership duly organized under the laws of the State of Delaware with its
 3 principal place of business in Universal City, California. Universal City Studios
 4 Productions LLLP owns or controls the copyrights or exclusive rights in the content
 5 that it or its affiliates produce or distribute.
 6         13.    Plaintiff Universal Cable Productions LLC (formerly known as
 7 Universal Network Television LLC) is a limited liability company duly organized
 8 under the laws of the State of Delaware with its principal place of business in
 9 Universal City, California. Universal Cable Productions LLC owns or controls the
10 copyrights or exclusive rights in the content that it or its affiliates produce or
11 distribute.
12         14.    Plaintiff Universal Television LLC is a limited liability company duly
13 organized under the laws of the State of New York with its principal place of
14 business in Universal City, California. Universal Television LLC owns or controls
15 the copyrights or exclusive rights in the content that it or its affiliates produce or
16 distribute.
17         15.    Plaintiff Warner Bros. Entertainment Inc. is a corporation duly
18 incorporated under the laws of the State of Delaware with its principal place of
19 business in Burbank, California. Warner Bros. owns or controls the copyrights or
20 exclusive rights in the content that it or its affiliates produce or distribute.
21         16.    Plaintiffs have obtained Certificates of Copyright Registration for their
22 Copyrighted Works. Exhibit A contains a representative list of titles, along with
23 their registration numbers, as to which Defendants have contributed to and induced
24 infringement and continue to contribute to and induce infringement.
25         17.    Defendant Set Broadcast, LLC is a corporation duly incorporated under
26 the laws of the State of Florida with its principal place of business at 11125 Park
27 Blvd., Suite 104-148, Seminole, Florida 33772. Defendant Set Broadcast, LLC does
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 1 business under the name Setvnow and operates an interactive website available at
 2 http://www.setvnow.com.
 3         18.   Defendant Jason Labbosiere is the owner and operator of Set
 4 Broadcast, LLC. Labossiere is a resident of Largo, Florida.
 5         19.   Defendant Nelson Johnson is an employee and former authorized
 6 manager of Set Broadcast, LLC. Johnson is a resident of Riverview, Florida.
 7                            JURISDICTION AND VENUE
 8         20.   This Court has subject matter jurisdiction over this Complaint pursuant
 9 to 28 U.S.C. §§ 1331, 1338(a), and 17 U.S.C. § 501(b).
10         21.   Defendants knowingly and intentionally targets Plaintiffs and the State
11 of California by openly encouraging Setvnow customers in California, among other
12 places, to obtain streams of infringing content. Defendants intend that their
13 customers will use Setvnow overwhelmingly to stream infringing performances of
14 Plaintiffs’ Copyrighted Works. Defendants know and intend that their activities will
15 cause significant harm in the State of California, which is the locus of most of
16 Plaintiffs’ production and distribution operations. Setvnow also uses Plaintiffs’ or
17 their affiliates’ trademarks for television channels (e.g., the Disney Channel) to
18 demonstrate the range of available infringing content.
19         22.   Setvnow advertises, sells, and provides its subscriptions and “ST-110
20 Set Top Boxes” to California residents. It also provides ongoing technical support
21 and updates to California residents. Defendants use the services of companies in
22 California, including Facebook and YouTube, to advertise and promote Setvnow to
23 potential customers in California.
24         23.   Venue is proper in this District pursuant to 28 U.S.C. §§ 1391(b) and
25 1400(a).
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 1                                FACTUAL OVERVIEW
 2 Plaintiffs and Their Copyrighted Works
 3         24.   Plaintiffs or their affiliates produce and distribute some of the most
 4 popular and critically acclaimed motion pictures and television shows in the world.
 5         25.   Plaintiffs or their affiliates have invested (and continue to invest)
 6 substantial resources and effort each year to develop, produce, distribute, and
 7 publicly perform their Copyrighted Works.
 8         26.   Plaintiffs or their affiliates own or have the exclusive U.S. rights
 9 (among others) to reproduce, distribute, and publicly perform their Copyrighted
10 Works, including by means of streaming those works over the Internet to the public.
11         27.   Plaintiffs authorize the distribution and public performance of their
12 Copyrighted Works in various formats and through multiple distribution channels,
13 including, by way of example: (a) for exhibition in theaters; (b) through cable and
14 direct-to-home satellite services (including basic, premium, and “pay-per-view”);
15 (c) through authorized, licensed Internet video-on-demand services, including those
16 operated by iTunes, Google Play, Hulu, VUDU, Netflix, Inc. and Amazon.com,
17 Inc.; (d) for private home viewing on DVDs and Blu-ray discs; and (e) for broadcast
18 on television.
19         28.   Plaintiffs have not authorized Defendants, the operators of the sources
20 to which Setvnow links, or Defendants’ customers, to exercise any of Plaintiffs’
21 exclusive rights under the Copyright Act.
22 Defendants’ Inducement of and Contribution to the Infringement of Plaintiffs’
   Copyrighted Works
23
24      The Setvnow Experience
25         29.   Defendants promote Setvnow as a substitute for cable television
26 subscriptions, telling customers that for “ONLY $20 PER MONTH,” customers will
27 have “Thousands of On Demand entertainment options” and “500 + Channels” with
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 1 “No long term commitments,” “No activation fees,” “No cancellation fees,” “No
 2 Credit Check,” and “Professional Support.”
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14         30.   Once customers purchase a monthly subscription plan, they need only

15 download and install the Setvnow application on their laptop, mobile device, tablet,
16 or other hardware device to have access to high-quality, high-speed streams of
17 infringing content.
18        31. Defendants’ customers access infringing streams through use of the

19 Setvnow software application. The Setvnow application provides a built-in media
20 player and curated menus of live television channels and on-demand television show
21 episodes and movies. As depicted below, Setvnow’s user interface provides simple
22 click-to-play options for content.
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12         32.   When a user selects any of the menu links above, Setvnow begins
13 streaming the selected content from third-party sources. These sources capture live
14 transmissions of the above-listed television channels, convert the copies of the
15 television programs into streaming-friendly formats, and then retransmit the entirety
16 of the live broadcasts over the Internet. In the screenshot above, a customer who
17 simply clicked once on “DISNEY CHANNEL” would have instant access to a live
18 stream of the Disney Channel.
19         33.   For its on-demand options, Setvnow relies on third-party sources that
20 illicitly reproduce copyrighted works and then provide streams of popular content
21 such as movies still exclusively in theaters and television shows.
22         34.   Defendants’ customers use Setvnow as follows. First, the customer
23 downloads the Setvnow application on his or her laptop, mobile device, tablet, or
24 other hardware device. The customer then inputs his or her login information.
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 1        35.    Upon login, Setvnow presents the customer with an easy-to-navigate
 2 user interface, with top-menu selections that include “TV” and “VOD”:
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17        36.    From the “TV” page, Defendants’ customers can select any one of the

18 “500+ channels” of live television, including Plaintiffs’ copyrighted television
19 programs. In addition to the channel guide on the right-side of the media player,
20 Setvnow also offers its customers a “Whats Next” menu below the media player.
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                                         COMPLAINT
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1        37.   Setvnow’s built-in media player can be expanded to full-screen for a
2 high-quality streaming and viewing experience.
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1           38.    On the “VOD” page, Setvnow presents customers curated menu of on-
2 demand television shows and movies, organized into categories such as “NEW
3 RELEASES,” “TV SHOWS,” “ACTION,” “FAMILY,” and “COMEDY.”
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            39.    On April 10, 2018, a Setvnow customer who selected the “NEW
19
     RELEASES” category would have had the ability to access immediately hundreds
20
     of titles, including movies still in theaters.
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            40.    Defendants’ customers use Setvnow for intended and unquestionably
22
     infringing purposes, most notably to obtain immediate, unrestricted, and
23
     unauthorized access to unauthorized streams of Plaintiffs’ Copyrighted Works.
24
            Defendants Intentionally Induce Mass Infringement of Plaintiffs’
25          Copyrighted Works
26
            41.    Defendants promote the use of Setvnow for overwhelmingly, if not
27
     exclusively, infringing purposes, and that is how their customers use Setvnow.
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 1        42.    Defendants advertise Setvnow as a substitute for authorized and
 2 legitimate distribution channels such as cable television or video-on-demand
 3 services like Amazon Prime Video and Netflix. Defendants urge Setvnow
 4 customers to stream infringing content. Defendants tell customers in promotional
 5 videos that customers can “start enjoying live TV and videos on demand easily and
 6 conveniently,”1 and that Setvnow will “provide the on-demand television shows and
 7 movies that you were looking for.”2
 8        43.    Defendants also pay for sponsored reviews to reach a broader audience
 9 of customers. For example, in one sponsored review with over 80,000 video views,
10 the paid reviewer explains to potential customers that “another huge win for Set
11 TV[3] is this on-demand feature and there are new movies, new releases that you can
12 see … so some things that you might have to rent somewhere else it’s free here in
13 your $20 subscription per month and your favorite TV shows are here too,”
14 including “some Netflix exclusive shows.” 4 In another sponsored review with over
15 120,000 video views, the sponsored reviewer promotes Setvnow as a quick and easy
16 way to access on demand movies: “You have new releases right there and you
17 simply click on the movie … you click it and click on play again and here you have
18 the movie just like that in 1 2 3 in beautiful HD quality.”5 This same reviewer
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20   SET TV NOW Sales, Tired of Paying to much money on Cable TV (posted May 4,
21 2017) https://www.youtube.com/watch?v=xtLZNF6rxyo
   2
     SET TV NOW Sales, Install Set TV on Android Box 2018 Guide at 7:30 (posted
22
   Feb. 24, 2018), https://www.youtube.com/watch?v=uRdbBAvFHgE
23 3 The sponsored reviewers sometimes use “Set TV” as shorthand for the Setvnow
24 application.
   4
25 SET TV NOW Sales, Best IPTV Cable Killer Set TV 500+ Channels for $20! at
   3:50-4:28 (posted Oct. 11, 2017)
26 https://www.youtube.com/watch?v=ZghyFUrrbwY&t=24s
27 5 SET TV NOW Sales, 4 1 at 1:51 (posted Apr. 19, 2017)
28 https://www.youtube.com/watch?v=BBy-4fx_I_8

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 1 promotes the ease of downloading and installing the Setvnow application,
 2 explaining that “it only takes ten seconds, literally.”6 Another sponsored review
 3 with over 64,000 video views exclaims to potential customers that Setvnow provides
 4 “episode after episode of TV show after TV show and you can go and find the ones
 5 that you want and of course the newer releases.”7 The review goes on to highlight
 6 “the quality [and] the speed” of Setvnow, and explains that the service “work[s]
 7 beautifully” because Setvnow “has their own servers which means they’re able to
 8 put this out and do a good job with it.”8
 9            44.       Defendants release and promote software updates to the Setvnow
10 application as a means of ensuring the quality of streams through Setvnow. On their
11 Facebook page, Defendants explain that “Developers are currently doing a patch …
12 as we are trying to improve our service.”9
13            45.       The commercial value of Defendants’ business depends on high-
14 volume use of unauthorized content through the Setvnow application. Defendants
15 promise their customers reliable and convenient access to all the content they can
16 stream; customers purchase Setvnow subscriptions based on Defendants’ success—
17 which Defendants tout and promote—in connecting their customers to infringing
18 content. Customers renew their monthly subscriptions because Setvnow connects
19 these customers to high-speed and high-quality streams of infringing content.
20 Defendants also solicit individuals to serve as authorized affiliates and re-sellers of
21 Setvnow through the “SET TV Re-Seller & Affiliate Program” by highlighting the
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         Id. at 3:00.
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     7
     SET TV NOW Sales, 1 1 at 1:50 (Apr. 19, 2017)
25 https://www.youtube.com/watch?v=7CLTs08Uhfg
26 8 Id.
27   9
    Setvnow (posted Dec. 9, 2017)
28 https://www.facebook.com/ordersetvnow/posts/268649086997443

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 1 increasing popularity of Setvnow and the ease of making hundreds of dollars in
 2 commissions.10
 3        46.    Defendants also encourage users to “Refer your friends and family to
 4 SET TV to earn rewards and cash” in the Setvnow application.
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18        47.    Defendants’ revenues grow based on increase in demand for Setvnow
19 and continued monthly subscriptions. The demand for Setvnow is directly driven by
20 Defendants’ promise of all-inclusive access to infringing content for only $20 per
21 month. These promises depend on and form an integral part of an ecosystem built
22 on the mass infringement of Plaintiffs’ Copyrighted Works.
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     Setvnow (posted Oct. 6, 2017)
28 https://www.facebook.com/ordersetvnow/posts/243834122812273

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 1                              FIRST CAUSE OF ACTION
 2     (Intentionally Inducing the Infringement of Plaintiffs’ Copyrighted Works,
 3                                     17 U.S.C. § 106)
 4         48.    Plaintiffs incorporate herein by reference each and every averment
 5 contained in paragraphs 1 through 47 inclusive.
 6         49.    Defendants intentionally induce the infringement of Plaintiffs’
 7 exclusive rights under the Copyright Act, including infringement of Plaintiffs’
 8 exclusive right to publicly perform their Copyrighted Works. As intended and
 9 encouraged by Defendants, Setvnow connects customers to unauthorized online
10 sources that stream Plaintiffs’ Copyrighted Works. The operators of these source
11 repositories directly infringe Plaintiffs’ public performance rights by providing
12 unauthorized streams of the works to the public, including to Setvnow customers.
13 These operators, or others operating in concert with them, control the facilities and
14 equipment used to store and stream the content, and they actively and directly cause
15 the content to be streamed when Setvnow customers click on a link for the content.
16         50.    Defendants induce the aforementioned acts of infringement by
17 supplying the software application that facilitates, enables, and creates direct links
18 between Setvnow customers and the infringing operators of the streaming services,
19 and by actively inducing, encouraging and promoting the use of their software
20 application for blatant copyright infringement.
21         51.    Defendants’ intentional inducement of the infringement of Plaintiffs’
22 rights in each of their Copyrighted Works constitutes a separate and distinct act of
23 infringement.
24         52.    Defendants’ inducement of the infringement of Plaintiffs’ Copyrighted
25 Works is willful, intentional, and purposeful, and in disregard of and with
26 indifference to the rights of Plaintiffs.
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                                               COMPLAINT
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 1         53.   As a direct and proximate result of the infringement that Defendants
 2 intentionally induce, Plaintiffs are entitled to damages and Defendants’ profits in
 3 amounts to be proven at trial.
 4         54.   Alternatively, at their election, Plaintiffs are entitled to statutory
 5 damages, up to the maximum amount of $150,000 per work infringed by virtue of
 6 Defendants’ willful inducement of infringement, or for such other amounts as may
 7 be proper under 17 U.S.C. § 504.
 8         55.   Plaintiffs further are entitled to recover their attorneys’ fees and full
 9 costs pursuant to 17 U.S.C. § 505.
10         56.   As a direct and proximate result of the foregoing acts and conduct,
11 Plaintiffs have sustained and will continue to sustain substantial, immediate and
12 irreparable injury, for which there is no adequate remedy at law. Unless enjoined
13 and restrained by this Court, Defendants will continue to induce infringement of
14 Plaintiffs’ rights in their Copyrighted Works. Plaintiffs are entitled to injunctive
15 relief under 17 U.S.C. § 502.
16                            SECOND CAUSE OF ACTION
17        (Contributory Copyright Infringement by Knowingly and Materially
18         Contributing to the Infringement of Plaintiffs’ Copyrighted Works,
19                                     17 U.S.C. § 106)
20         57.   Plaintiffs incorporate herein by reference each and every averment
21 contained in paragraphs 1 through 56 inclusive.
22         58.   Defendants have actual or constructive knowledge of third parties’
23 infringement of Plaintiffs’ exclusive rights under the Copyright Act. Defendants
24 knowingly and materially contribute to such infringing activity.
25         59.   Defendants knowingly and materially contribute to the infringement of
26 Plaintiffs’ exclusive rights under the Copyright Act, including infringement of
27 Plaintiffs’ exclusive right to publicly perform their works. Defendants design and
28 promote the use of the Setvnow software application to connect customers to

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 1 unauthorized online sources that stream Plaintiffs’ Copyrighted Works. The
 2 operators of these source repositories directly infringe Plaintiffs’ public performance
 3 rights by providing unauthorized streams of the works to the public, including to
 4 Setvnow customers. The operators, or others operating in concert with them,
 5 control the facilities and equipment used to store and stream the content, and they
 6 actively and directly cause the content to be streamed when Setvnow customers
 7 click on a link for the content.
 8         60.   Defendants knowingly and materially contribute to the aforementioned
 9 acts of infringement by supplying the software application that facilitates,
10 encourages, enables, and creates direct links between Setvnow customers and
11 infringing operators of the streaming services, and by actively encouraging,
12 promoting, and contributing to the use of their devices for blatant copyright
13 infringement.
14         61.   Defendants’ knowing and material contribution to the infringement of
15 Plaintiffs’ rights in each of their Copyrighted Works constitutes a separate and
16 distinct act of infringement.
17         62.   Defendants’ knowing and material contribution to the infringement of
18 Plaintiffs’ Copyrighted Works is willful, intentional, and purposeful, and in
19 disregard of and with indifference to the rights of Plaintiffs.
20         63.   As a direct and proximate result of the infringement to which
21 Defendants knowingly and materially contribute, Plaintiffs are entitled to damages
22 and Defendants’ profits in amounts to be proven at trial.
23         64.   Alternatively, at their election, Plaintiffs are entitled to statutory
24 damages, up to the maximum amount of $150,000 per work infringed by virtue of
25 Defendants’ willful, knowing, and material contribution to infringement, or for such
26 other amounts as may be proper under 17 U.S.C. § 504.
27         65.   Plaintiffs further are entitled to recover their attorneys’ fees and full
28 costs pursuant to 17 U.S.C. § 505.

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 1         66.   As a direct and proximate result of the foregoing acts and conduct,
 2 Plaintiffs have sustained and will continue to sustain substantial, immediate and
 3 irreparable injury, for which there is no adequate remedy at law. Unless enjoined
 4 and restrained by this Court, Defendants will continue to knowingly and materially
 5 contribute to the infringement of Plaintiffs’ rights in their Copyrighted Works.
 6 Plaintiffs are entitled to injunctive relief under 17 U.S.C. § 502.
 7                                PRAYER FOR RELIEF
 8         WHEREFORE, Plaintiffs pray for judgment against Defendants and for the
 9 following relief:
10         1.    For Plaintiffs’ damages and Defendants’ profits in such amount as may
11 be found; alternatively, at Plaintiffs’ election, for maximum statutory damages; or
12 for such other amounts as may be proper pursuant to 17 U.S.C. § 504(c).
13         2.    For preliminary and permanent injunctions (a) enjoining Defendants
14 and their officers, agents, servants, employees, attorneys, and all persons acting in
15 active concert or participation with them, from publicly performing or otherwise
16 infringing in any manner (including without limitation by materially contributing to
17 or intentionally inducing the infringement of) any right under copyright in any of
18 Plaintiffs’ Copyrighted Works, including without limitation by publicly performing
19 those works, or by distributing any software or providing any service or device that
20 does or facilitates any of the foregoing acts; and (b) impounding all ST-110 devices
21 in Defendants’ possession, custody, or control, and any and all documents or other
22 records in Defendants’ possession, custody, or control relating to Defendants’
23 contribution to and inducement of the infringement of Plaintiffs’ Copyrighted
24 Works.
25         3.    For prejudgment interest according to law.
26         4.    For Plaintiffs’ attorneys’ fees and full costs incurred in this action
27 pursuant to 17 U.S.C. § 505.
28

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                                           COMPLAINT
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1         5.    For all such further and additional relief, in law or in equity, to which
2 Plaintiffs may be entitled or which the Court deems just and proper.
3                             DEMAND FOR JURY TRIAL
4         Plaintiffs demand a trial by jury on all issues triable by jury.
5
     DATED: April 20, 2018               MUNGER, TOLLES & OLSON LLP
6
7
8                                        By:        /s/ Kelly M. Klaus
9                                            KELLY M. KLAUS
                                         Attorneys for Plaintiffs
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                                           COMPLAINT
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    EXHIBIT A
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            Amazon Content Services, LLC et al. v. Set Broadcast, LLC et al
                          Representative List of Works

                                                     Registration             Registration
Title                   Copyright Registrant
                                                     Number                      Date
                     Amazon Content
Last Flag Flying                                     PA 000-206-5192 11/30/2017
                     Services, LLC
                     Amazon Content
The Wall                                             PA 000-204-3666 5/15/2017
                     Services, LLC
The Only Living      Amazon Content
                                                     PA 000-205-2210 9/7/2017
Boy in New York      Services, LLC
                     Amazon Content
Wonderstruck                                         PA 000-206-9723 11/22/2017
                     Services, LLC
Jumanji: Welcome to Columbia Pictures
                                                     PA 000-207-2805 1/25/2018
the Jungle           Industries, Inc.
Men In Black II      Columbia Pictures               PA 1-089-930             7/3/2002
                     Industries, Inc.
After Earth          Columbia Pictures               PA 1-841-452             5/31/2013
                     Industries, Inc.
Heaven is For Real   Columbia Pictures               PA 1-889-561             4/16/2014
                     Industries, Inc.
The Finest Hour      Disney Enterprises, Inc.        PA 1-989-069             5/27/2016
Desperate
Housewives, Season Disney Enterprises, Inc.          PA 1-657-587             10/28/2009
6, Episode 3
Desperate
Housewives, Season Disney Enterprises, Inc.          PA 1-711-737             12/8/2010
7, Episode 8
Desperate
Housewives, Season Disney Enterprises, Inc.          PA 1-657-587             1/9/2012
8, Episode 5
Grey’s Anatomy,
Season 1 Episode     Disney Enterprises, Inc.        PA 1-268-281             4/12/2005
Pilot
Grey’s Anatomy,
Season 2 Episode     Disney Enterprises, Inc.        PA 1-313-355             2/27/2006
214
Grey’s Anatomy,
                     Disney Enterprises, Inc.        PA 1-729-231             3/29/2011
Season 7, Episode 11
                                                                                    Exh A
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                                             Registration        Registration
Title                 Copyright Registrant
                                             Number                 Date
Okja                  Netflix Studios, LLC   PA 2-069-657       9/18/2017
                                             PA 2-069-656       9/18/2017
Death Note            Netflix Studios, LLC
The OA, Season 1
                                             PA 2-029-045       1/18/2017
Episode 1             Netflix Studios, LLC

The OA, Season 1,                                               1/18/2017
                      Netflix Studios, LLC   PA 2-029-047
Episode 4
Stranger Things,
                                             PA 2-009-919       9/26/2016
Season 2, Episode 5   Netflix Studios, LLC

Stranger Things,
                                             PA 2-009-943       9/26/2016
Season 2, Episode 7   Netflix Studios, LLC

                      Paramount Pictures
10 Cloverfield Lane                          PA 1-978-288       3/14/2016
                      Corporation

                      Paramount Pictures
Truman Show                                  PA 799-052         7/20/1998
                      Corporation

                      Paramount Pictures
Star Trek Beyond                             PA 1-994-401       7/21/2016
                      Corporation

                      Paramount Pictures
Downsizing                                   PA 2-068-615       12/22/2017
                      Corporation

                      Sony Pictures
Breaking Bad,
                      Television Inc.        PA 1-603-371       4/15/2008
Season 1, Episode 5
                      Sony Pictures
Breaking Bad,
                      Television Inc.        PA 1-603-380       4/15/2008
Season 1, Episode 6
                      Sony Pictures
Breaking Bad,
                      Television Inc.        PA 1-686-571       7/9/2010
Season 3, Episode 1



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                                                 Registration    Registration
Title                   Copyright Registrant
                                                 Number             Date
                        Sony Pictures
Breaking Bad,
                        Television Inc.          PA 1-758-566   11/1/2011
Season 4, Episode 3
Modern Family,       Twentieth Century Fox
Season 1, Episode 22 Film Corporation            PA 1-681-553   5/28/2010

                     Twentieth Century Fox
Modern Family,
                     Film Corporation            PA 1-735-792   4/21/2011
Season 2, Episode 18
                     Twentieth Century Fox
Modern Family,
                     Film Corporation            PA 1-745-994   7/14/2011
Season 2, Episode 24
American Horror         Twentieth Century Fox
Story, Season 4,        Film Corporation         PA 1-941-865   1/26/2015
Episode 10
American Horror         Twentieth Century Fox
Story, Season 5,        Film Corporation         PA 1-973-824   12/28/2015
Episode 6
                        Twentieth Century Fox
Aliens vs. Predator -
                        Film Corporation         PA 1-590-415   12/19/2007
Requiem
                        Universal City Studios
The Purge Election
                        Productions LLLP         PA 1-995-003   7/11/2016
Year
                        Universal City Studios
Jason Bourne -
                        Productions LLLP         PA 2-002-679   8/8/2016
Action
Law & Order:
Special Victims         Universal Cable
                                                 PA 1-967-998   10/19/2015
Unit, Season 17,        Productions LLC
Episode 2
Law & Order:
Special Victims         Universal Cable
                                                 PA 1-975-581   2/2/2016
Unit, Season 17,        Productions LLC
Episode 12


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                                              Registration       Registration
Title                  Copyright Registrant
                                              Number                Date
Law & Order:
Special Victims        Universal Television
                                              PA 2-041-019      4/25/2017
Unit, Season 18,       LLC
Episode 15
Law & Order:
Special Victims        Universal Television
                                              PA 2-080-666      11/2/2017
Unit, Season 19,       LLC
Episode 5
Mr. Robot, Season 1,   Universal Network
                                              PA 1-961-149      7/14/2015
Episode 1              Television LLC
Mr. Robot, Season 1,   Universal Network
                                              PA 1-961-144      7/14/2015
Episode 3              Television LLC
Mr. Robot, Season 2,   Universal Cable
                                              PA 2-003-757      8/17/2016
Episode 5              Productions LLC
Mr. Robot, Season 2,   Universal Cable
                                              PA 2-005-193      9/8/2016
Episode 7              Productions LLC
Famous in Love,        Warner Bros.
Season 1, Episode 1    Entertainment Inc.     PA 2-031-323      5/4/2017

                       Warner Bros.
Famous in Love,
                       Entertainment Inc.     PA 2-034-633      5/26/2017
Season 1, Episode 4
Fuller House, Season Warner Bros.
1 Episode 1          Entertainment Inc.       PA 1-985-460      4/26/2016

Fuller House, Season Warner Bros.
1 Episode 5          Entertainment Inc.       PA 1-985-462      4/26/2016

Supergirl, Season 1,   Warner Bros.
Episode 1              Entertainment Inc.     PA 1-972-266      12/22/2015

Supergirl, Season 2,   Warner Bros.
Episode 8              Entertainment Inc.     PA 2-012-798      12/13/2016




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